          Case 1:19-cr-00053-RP Document 17 Filed 03/18/19 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

United States of America                        §
                                                §
vs.                                             §      NO: AU:19-CR-00053(1)-RP
                                                §
(1) Denis Calabrese                             §

                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

TO:        THE HONORABLE ROBERT PITMAN
           UNITED STATES DISTRICT JUDGE

           The Magistrate Judge submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States

Magistrate Judge for the taking of the defendant's felony guilty plea and for his allocution

pursuant to Federal Rule of Criminal Procedure 11.

           On March 18, 2019, the defendant and counsel appeared before the Magistrate Judge.

The undersigned addressed the defendant personally in open court, informed him of the

admonishments under Rule 11 of the Federal Rules of Criminal Procedure, and determined that

he understood those admonishments.

           Pursuant to a plea agreement, the defendant pled guilty to: Attempt to Evade or

Defeat Tax, in violation of 26 U.S.C. § 7201.

           The Magistrate Judge finds the following:

1.         The defendant, with the advice of his attorney, consented to enter this guilty plea

           before the Magistrate Judge, subject to final approval and sentencing by the District

           Judge;
           Case 1:19-cr-00053-RP Document 17 Filed 03/18/19 Page 2 of 3




2.          The defendant fully understands the nature of the charge against him and possible

            penalties;

3.          The defendant understands his constitutional and statutory rights, understands that

            his constitutional and statutory rights can be waived, and understands the meaning

            and effect of the waiver of his constitutional and statutory rights;

4.          The defendant's plea was made freely and voluntarily;

5.          The defendant is competent to enter this plea of guilty; and

6.          There is a factual basis for this plea.

                                      RECOMMENDATION

            The Magistrate Judge RECOMMENDS the District Court accept the defendant's

guilty plea and, after reviewing the presentence investigation report, enter a Final Judgment of

guilt against him.

                                            WARNING

            The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections.

See Battle v. United States Parole Comm'n, 834 F.2d 419, 421 (5th Cir. 1987).

            A party's failure to file written objections to the proposed findings and

recommendations contained within this Report within fourteen (14) days after being served with

a copy of the Report shall bar that party from de novo review by the District Court of the

proposed findings and recommendations and, except upon grounds of plain error, shall bar the
          Case 1:19-cr-00053-RP Document 17 Filed 03/18/19 Page 3 of 3



party from appellate review of proposed factual findings and legal conclusions accepted by the

District Court to which no objections were filed. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn,

474 U.S. 140, 150-53, 106 S. Ct. 466, 472-74 (1985); Douglass v. United Servs. Auto. Ass'n, 79

F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

           SIGNED this 18th day of March, 2019.



                                                ______________________________
                                                ANDREW W. AUSTIN
                                                UNITED STATES MAGISTRATE JUDGE
